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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   IN RE CLOUDERA, INC.                                   Case No.: 1:19-cv-01422-VAC
   STOCKHOLDER DERIVATIVE                                 (Consolidated)
   LITIGATION


               STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

               IT IS HEREBY STIPULATED AND AGREED by the parties, through their

attorneys and subject to the approval of the Court, that pursuant to Federal Rules of Civil Procedure

23.1(c) and 41(a), all claims asserted in the above-captioned action are voluntarily dismissed

without prejudice, with each party to bear its own fees and costs. Nominal Defendant Cloudera,

Inc. has been acquired in a cash-out merger that closed on October 8, 2021, leaving this action

without a stockholder who has standing. Further, no consideration has been given, offered, or

promised to Plaintiffs or Plaintiffs’ attorneys in connection with this dismissal.


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August 4, 2022




IT IS SO ORDERED this ____ day of ________________, 2022.


                                      ____________________________________
                                          The Honorable Richard G. Andrews




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